               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )     Criminal No. 3:11-00082
                                                 )     Judge Trauger
                                                 )
[1] TRAVIS LYNN GENTRY                           )

                                           ORDER

       It is hereby ORDERED that the government shall respond to defendant Travis Gentry’s

Motion to Dismiss The Second Superseding Indictment (Docket No. 921) by July 13, 2012.

       It is so ORDERED.

       ENTER this 11th day of July 2012.



                                                 ________________________________
                                                       ALETA A. TRAUGER
                                                         U.S. District Judge




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